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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No.: 17-10142-EFM
                                             )
BOGDANA ALEXANDROVNA                         )
MOBLEY,                                      )
                                             )
                      Defendant.             )


                                            ORDER

       Pursuant to the Mandate issued on September 14, 2020 from the 10th Circuit Court of

Appeals, the United States Marshals Service is directed to return the above Defendant to this

Court to conduct all proceedings necessary as directed by the 10th Circuit Court of Appeals.

       IT IS SO ORDERED.

       Dated this 14th day of October, 2020.




                                                    ERIC F. MELGREN
                                                    UNITED STATES DISTRICT JUDGE
